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 U.S. District Court
Eastern District of MO                Utlf~Tl;.P .STA1ES D1.S1P..IC'T C.OURT
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i          k1V1u;/_ f)(3;ft:,,vd,~rv1 A,s Wrubf;-f uf;C(VIJ I ,isl--Js 1rruA 11 fa,,'; tf i'ft f

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         ,£11c,,f.-me..,,+ Fttv) ht',f1r.so..y or Tebfi-vn~ (r(}w\; G,c;t;;; /J ;/es, TA,& eirrer tJa~ 1CJ
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          lrrvd /.l- Fo,, ~-r +/A /,

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     /OJ  TJ--e, t-r~/\-l Cc,v,r\-' erred ;rv E.u-s-h;\~rv;~ the- OloJecJ70rv 1e fotrei,vue ~q,/1+
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        Prf'Jdt   ft   to..~r "tr:11l.
     H,) Ti-e 1r-·;Ai c.cur-t               erred            t~e. ob:i~c+-1tnv 1b G:4i /J.les
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   t,;vol cfo-N1 e..J Def~d cvdc h:& Covv~t~tu+~ e>rvAl ;-'iff.s- ft/'vd Pt /Air "tr ;Ii/,




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